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                  5
                      Attorneys for Creditor
                  6   U.S. Bank Trust N.A., as Trustee of Bungalow Series F Trust c/o BSI Financial Services
                  7
                                                UNITED STATES BANKRUPTCY COURT
                  8
                                   EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO DIVISION
                  9
                      In Re:                                            ) Case No.: 14-25618
                 10                                                     )
                      Sheldon Irving Hirsh and Melanie Meilan           ) CHAPTER 13
                 11                                                     )
                      Hirsch,                                           )
                 12                                                     ) REQUEST FOR SPECIAL NOTICE
                               Debtor.                                  )
                 13                                                     )
                                                                        )
                 14                                                     )
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                                                                        )
                 15                                                     )
                                                                        )
                 16                                                     )
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                 18   TO:       UNITED STATES BANKRUPTCY JUDGE, THE DEBTORS, AND ALL

                 19             INTERESTED PARTIES

                 20             PLEASE TAKE NOTICE that THE LAW OFFICES OF MICHELLE GHIDOTTI,

                 21   attorneys for U.S. Bank Trust N.A., as Trustee of Bungalow Series F Trust c/o BSI Financial

                 22   Services hereby requests special notice of all events relevant to the above referenced

                 23   bankruptcy and copies of all pleadings or documents filed in relation to the above referenced

                 24   bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy Procedure,

                 25   Rule 2002, the commencement of any adversary proceedings, the filing of any requests for

                 26   hearing, objections, and/or notices of motion, or any other auxiliary filings, as well as notice of

                 27   all matters which must be noticed to creditors, creditors’ committees and parties-in-interest and

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                                                                     1
                                REQUEST FOR SPECIAL NOTICE AND SERVICE OF PAPERS AND RESERVATIONS OF RIGHTS
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                  1   other notices as required by the United States Bankruptcy Code and Rules and/or Local Rules

                  2   of the above-referenced bankruptcy court.

                  3          THE LAW OFFICES OF MICHELLE GHIDOTTI, requests that for all notice purposes

                  4   and for inclusion in the Master Mailing List in this case, the following address be used:

                  5                                     Kristin A. Zilberstein, Esq.
                                               LAW OFFICES OF MICHELLE GHIDOTTI
                  6                                        1920 Old Tustin Ave
                                                           Santa Ana, CA 92705
                  7
                                              Telephone (949) 427-2010 – Fax: (949) 427-2732
                  8                                  ecfnotifications@ghidottilaw.com

                  9          Neither this Request for Special Notice nor any subsequent appearance, pleading, claim,
                 10   proof of claim, documents, suit, motion nor any other writing or conduct, shall constitute a
                 11   waiver of the within party's:
                 12          a.       Right to have any and all final orders in any and all non-core matters entered
                 13   only after de novo review by a United States District Court Judge;
                 14          b.       Right to trial by jury in any proceeding as to any and all matters so triable
                 15   herein, whether or not the same be designated legal or private rights, or in any case,
                 16   controversy or proceeding related hereto, notwithstanding the designation or not of such
                 17   matters as "core proceedings" pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial
                 18   right is pursuant to statute or the United States Constitution;
                 19          c.       Right to have the reference of this matter withdrawn by the United States
                 20   District Court in any matter or proceeding subject to mandatory or discretionary withdrawal;
                 21   and
                 22          d.       Other rights, claims, actions, defenses, setoffs, recoupments or other matters to
                 23   which this party is entitled under any agreements at law or in equity or under the United States
                 24   Constitution.
                 25   ///
                 26   ///
                 27   ///
                 28   All of the above rights are expressly reserved and preserved by this party without exception and
                                                                   2
                              REQUEST FOR SPECIAL NOTICE AND SERVICE OF PAPERS AND RESERVATIONS OF RIGHTS
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                  1   with no purpose of confessing or conceding jurisdiction in any way by this filing or by any

                  2   other participation in these matters.

                  3

                  4                                                THE LAW OFFICES OF MICHELLE
                                                                   GHIDOTTI
                  5
                      Dated: June 28, 2018                         By:/s/ Kristin A. Zilberstein, Esq..
                  6
                                                                   KRISTIN A. ZILBERSTEIN
                  7                                                Attorneys for U.S. Bank Trust N.A., as Trustee of
                                                                   Bungalow Series F Trust c/o BSI Financial
                  8                                                Services
                  9

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                              REQUEST FOR SPECIAL NOTICE AND SERVICE OF PAPERS AND RESERVATIONS OF RIGHTS
